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              Attachment A
                 Chart of Exhibits
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                                                         ATTACHMENT A

                                                           Category 1:                  Category 3:
            Bates Range                                                   Category 2:                 Category 4:
Document                           Document              Reimbursement,                  Strategic                      Relief
            and Exhibit                                                   Negotiating                 Contracting
 Number                            Description             Bidding &                     Plans and                      Sought
             Number                                                        Strategies                 Information
                                                          Pricing Info.                  Analysis



                             Deposition Transcript of
                             Christopher Morris in His
   1
             Bates N/A
             (PX7050)
                               Personal and 30(b)(6)
                              Capacities (Aetna, Inc.)
                                                                                                                   Partial
                                                                                                                      Disclosure




                              FTC Investigational
   2
             Bates N/A
             (PX7010)
                              Hearing Transcript of
                               Christopher Morris
                                                                                                                   Partial
                                                                                                                      Disclosure




           AETNA0000563         Einstein – Aetna
   3
              through
           AETNA0000696
                                Hospital Services
                               Agreement Effective                                                                  Complete
                                                                                                                    Non-Disclosure
             (PX3003)              10/15/2011


                               Jefferson – Aetna
   4
           AETNA0000777
             (PX3004)
                            Managed Care Agreement
                                  Amendment                                                                         Complete
                                                                                                                    Non-Disclosure
                              Effective 1/1/2017



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                                                            Category 1:                  Category 3:
             Bates Range                                                   Category 2:                 Category 4:
Document                            Document              Reimbursement,                  Strategic                      Relief
             and Exhibit                                                   Negotiating                 Contracting
 Number                             Description             Bidding &                     Plans and                      Sought
              Number                                                        Strategies                 Information
                                                           Pricing Info.                  Analysis

           AETNA0000957         Jefferson – Aetna
   5
              through
           AETNA0000966
                                Hospital Services
                              Agreement Amendment                                                                    Complete
                                                                                                                     Non-Disclosure
             (PX3053)           Effective 7/1/2018



           AETNA0001704
                              Email from Christopher
              through
   6       AETNA0001705
             (DX103)
                             Soran to C. Morris and A.
                             Ovuka: Finalized Savings                                                                 Partial
                                                                                                                       Disclosure
                                    Plus Model



                             Email from Chris
   7
           AETNA0001708 McTiernan to C. Morris and
             (PX3006)    J. Pechar re: Savings Plus                                                                   Partial
                                                                                                                       Disclosure
                            Commercial Network

           AETNA0001735
   8
              through
           AETNA0001740
                        Email from C. Morris to D.
                         Taylor re: 2017 Product                                                                    Partial
                                                                                                                       Disclosure
             (DX107)
           AETNA0001746
                              Email from J. Flynn to C.
   9
              through
           AETNA0001747
                              Morris Re: 2017 Product
                                      Offerings
                                                                                                                     Partial
                                                                                                                       Disclosure
             (PX3007)




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                                                            Category 1:                  Category 3:
             Bates Range                                                   Category 2:                 Category 4:
Document                            Document              Reimbursement,                  Strategic                      Relief
             and Exhibit                                                   Negotiating                 Contracting
 Number                             Description             Bidding &                     Plans and                      Sought
              Number                                                        Strategies                 Information
                                                           Pricing Info.                  Analysis

           AETNA0001781   Email from Stephen
   10
              through
           AETNA0001782
                        Wyszomierski to C. Morris
                         RE: 2018 Savings Plus                                                                        Partial
                                                                                                                       Disclosure
             (PX3009)           Option




           AETNA0001749      Email from Laura Knorr to
   11
              through
           AETNA0001770
                              C. Morris Re: Jefferson
                              Value Proposition LEAP                                                                 Partial
                                                                                                                       Disclosure
             (PX3045)              5.4.18(2).pptx




           AETNA0001787       Email from Christopher
   12
              through
           AETNA0001788
                               Soran to C. Morris and
                             others Re: Einstein Follow                                                              Partial
                                                                                                                       Disclosure
             (PX3046)                    Up




           AETNA0001820  Email from Christopher
   13
              through     Soran to James Russel,
           AETNA0001821 among others, Re: Network                                                                      Partial
                                                                                                                       Disclosure
             (PX3048)      Updates 10-07-2019




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                                                            Category 1:                  Category 3:
             Bates Range                                                   Category 2:                 Category 4:
Document                            Document              Reimbursement,                  Strategic                      Relief
             and Exhibit                                                   Negotiating                 Contracting
 Number                             Description             Bidding &                     Plans and                      Sought
              Number                                                        Strategies                 Information
                                                           Pricing Info.                  Analysis



   14
           AETNA0001826 Email from Martha Carlson
             (PX3049)    to C. Morris Re: Einstein                                                                    Partial
                                                                                                                       Disclosure



           AETNA0002137
   15
              through
           AETNA0002139
                        RE: Savings Plus - Provider
                               Negotiations                                                                          Partial
                                                                                                                       Disclosure
             (DX106)




           AETNA0002140
                             Efficiency Relativities OE
   16
               through
           AETNA0002179
                             no PModel 2017 Narrow
                                   Optionv2.xlsx
                                                                                                                       Partial
                                                                                                                       Disclosure
           (part of DX106)




                           Calendar Invite from
           AETNA0002248   Stephanie Mayes to C.
   17
              through   Morris (among others) for a
           AETNA0002265 November 30, 2016 meeting                                                                   Partial
                                                                                                                       Disclosure
             (DX127)     with the subject: Network
                            Meeting (In Person)




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                                                            Category 1:                  Category 3:
             Bates Range                                                   Category 2:                 Category 4:
Document                            Document              Reimbursement,                  Strategic                      Relief
             and Exhibit                                                   Negotiating                 Contracting
 Number                             Description             Bidding &                     Plans and                      Sought
              Number                                                        Strategies                 Information
                                                           Pricing Info.                  Analysis

           AETNA0003245  Email from C. Morris to
   18
              through   Sascha Brown Re: Einstein;
           AETNA0003254 Attachment Einstein_Level                                                                   Partial
                                                                                                                       Disclosure
             (PX3050)          1 Info.docx


                                Email from Ruchita
           AETNA0003506       Kewalramini to C. Morris
              through          (among others): Draft
   19      AETNA0003554
             (DX136)
                                  Materials – Aetna
                               Pennsylvania strategic
                                                                                                                    Partial
                                                                                                                       Disclosure
                             options – 6/19 workshop in
                                      Blue Bell

                             Email from Jacque Sharpe
           AETNA0008813
                                 on behalf of Amy
              through
   20      AETNA0008857
               (N/A)
                              Oldenburg to C. Morris
                              (among others) RE: RE:                                                                Partial
                                                                                                                       Disclosure
                              Keystone Network Deep
                                       Dive




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